             CASE 0:20-cv-01791-PJS-BRT Doc. 18 Filed 02/23/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Chester C. Graham,                                  Court File No. 20-1791 (PJS/BRT)

                    Plaintiff,
                                                    DEFENDANT’S MOTION TO
        v.                                       DISMISS FOR LACK OF PERSONAL
                                                  JURISDICTION AND FAILURE TO
Edge Financial, Inc.,                                    STATE A CLAIM
                    Defendant.


        Defendant Edge Financial, Inc. moves this Court for an order dismissing the

Complaint under Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6) for lack of

personal jurisdiction and failure to state a claim for which relief can be granted. This motion

is supported by an accompanying memorandum of law, one declaration, arguments of

counsel, and all the files, records, and proceedings in this case.

Dated: February 23, 2021                  TAFT STETTINIUS & HOLLISTER LLP


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